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                   16
                                                   UNITED STATES DISTRICT COURT
                   17
                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                        SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   20
                           Individual and Representative Plaintiffs,    UNOPPOSED ADMINISTRATIVE MOTION TO
                   21                                                   FILE UNDER SEAL EXHIBIT TO JOINT
                               v.                                       DISCOVERY LETTER BRIEF
                   22
                        META PLATFORMS, INC., a Delaware
                   23   corporation;
                   24                                   Defendant.
                   25

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COOLEY LLP
ATTORNEYS AT LAW
                                                                                            ADMIN. MOTION TO SEAL
                                                                                             3:23-CV-03417-VC-TSH
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                    1          Pursuant to Civil Local Rule 79-5(c)–(e), Defendant Meta Platforms, Inc. (“Meta”) moves
                    2   this Court for an Order allowing Meta to file under seal a confidential, unredacted version of a
                    3   document relating to the Parties’ Joint Discovery Letter regarding Meta’s Responses to Plaintiffs’
                    4   First and Second Sets of Requests for Admission (“Joint Letter Brief”). Meta respectfully submits
                    5   that good cause exists for the filing of this document under seal. The motion is based on the
                    6   following Memorandum of Points and Authorities and the Declaration of Nikki Vo in support of
                    7   this Unopposed Administrative Motion to File Under Seal.
                    8          The following chart lists the document for which Meta requests sealing in order to protect
                    9   Meta’s confidential business information.
                   10
                         Document                                        Sealing Request
                   11
                         Exhibit A to Joint Letter Brief                         Redacted portions
                   12
                        A [Proposed] Order is filed concurrently herewith, and Meta refers the Court to the Joint Letter
                   13
                        Brief itself and the supporting evidence attached thereto as further support for this Unopposed
                   14
                        Administrative Motion.
                   15
                        I.     LEGAL ARGUMENT
                   16
                               Though the presumption of public access to judicial proceedings and records is strong, it
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                        “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit
                   18
                        treats documents “attached to dispositive motions differently from records [i.e., documents]
                   19
                        attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                   20
                        (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                   21
                        non-dispositive motions, such as the Parties’ Joint Letter Brief, the “good cause” standard applies.
                   22
                        OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);
                   23
                        Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in
                   24
                        discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the
                   25
                        interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-
                   26
                        05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963
                   27
                        (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).
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                                                                                                      ADMIN MOTION TO SEAL
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                    1           The redacted portions of Exhibit A to the Joint Letter Brief contain Meta’s confidential
                    2   information, for which Meta requests sealing. The redacted portions of Exhibit A to the Joint Letter
                    3   Brief are responses to Plaintiffs’ Requests for Admission that Meta had designated
                    4   “CONFIDENTIAL” under the Protective Order and refer to highly sensitive, non-public
                    5   information concerning Meta’s business practices surrounding its Llama models and the datasets
                    6   used to train the Llama models. Meta must request sealing of these materials, as this information
                    7   is highly confidential, and Meta takes steps to carefully protect the confidentiality of information
                    8   of this sort, as disclosure has the potential to cause significant competitive injury to Meta. See, e.g.,
                    9   Krieger v. Atheros Commc’ns, Inc., No. 11-CV-640-LHK, 2011 WL 2550831, at *1 (N.D. Cal.
                   10   Jun. 25, 2011) (finding information regarding party’s “long-term financial projections, discussions
                   11   of business strategy, and competitive analyses” sealable); Space Data Corp. v. Alphabet Inc., No.
                   12   16-CV-03260-BLF, 2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding information
                   13   regarding party’s confidential and proprietary technical information, and sensitive financial
                   14   information sealable). These sealing requests are critical to protect Meta’s confidential sensitive
                   15   technical and competitive information.
                   16           The specific basis for sealing this document is outlined in the accompanying declaration of
                   17   Meta’s Director and Associate General Counsel, Nikki Vo. As outlined in Ms. Vo’s declaration,
                   18   disclosure of the protected information contained in the materials Meta seeks to seal would cause
                   19   competitive harm to Meta if this information is publicly disclosed. Meta’s sealing requests and
                   20   proposed redactions are narrowly tailored to include only that information which would cause
                   21   specific, articulable harm, as identified in Ms. Vo’s declaration. In each instance, the harm to Meta
                   22   outweighs the public’s interest in disclosure. See, e.g., In re iPhone App. Litig., No. 11-md-02250-
                   23   LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting motion to seal where the
                   24   defendant’s interest in “maintaining the confidentiality of information about its technology and
                   25   internal business operations” outweighed that of the public in accessing such documents).
                   26   II.     CONCLUSION
                   27           Pursuant to Civil Local Rule 79-5, as appropriate, redacted and unredacted versions of the
                   28   above-listed document accompanies this Unopposed Administrative Motion. For the foregoing
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                    1   reasons, Meta respectfully requests that the Court grant its Administrative Motion to Seal.
                    2

                    3   Dated: November 26, 2024                                COOLEY LLP
                    4

                    5                                                        By: /s/Judd Lauter
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                                                                                 Mark Weinstein
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                    1                                    CERTIFICATE OF CONFERENCE
                    2               I hereby attest that I spoke with counsel for Plaintiffs, who confirmed they do not oppose

                    3   the relief sought in this motion. I declare under penalty of perjury that the foregoing is true and

                    4   correct.

                    5
                         Dated: November 26, 2024
                    6                                                           COOLEY LLP
                    7                                                            /s/Judd Lauter
                                                                                Judd Lauter
                    8

                    9                                                           Attorneys for Defendant
                                                                                Meta Platforms, Inc.
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